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                     Exhibit 17
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                  SECOND DECLARATION OF KIMBERLY CRAWLEY

       COMES NOW, Kimberly Crawley and pursuant to 28 U.S.C. § 1746, declares under

penalty of perjury that the following is true and correct:

   1. My name is Kimberly Crawley, and I am over 18 years old. I have personal knowledge of

       the facts as stated herein.

   2. This declaration is submitted to supplement my initial declaration, ECF 5-8.

   3. I am the parent of I.C., who is thirteen years old and is in sixth grade at Trailside Middle

       School, which is part of Loudoun County Public Schools. I.C. has been diagnosed with a

       medical respiratory disability that makes him severely prone to infections. I.C. has had

       thirty-five surgeries; about ten to twelve of those surgeries on his right side affected his

       right lung. His right lung is approximately half the size of his left lung. These conditions

       substantially limit his major life activities, such as breathing and the functions of the

       respiratory system.

   4. These conditions put I.C. at a higher risk for severe complications if he were to become

       infected with COVID-19. I.C. is at a heightened risk from COVID-19 even after being

       vaccinated and boosted.

   5. On Wednesday, February 16, 2022, Loudoun County Public Schools sent an email about

       the passage of Senate Bill 739. The email informed families that they could opt out of the

       mask requirement starting February 22, but encouraged the use of masks while

       transmission rates remain high. See Exhibit A (Email from LCPS).

   6. Later that day on February 16, 2022, Loudoun County Public School sent an email about

       the Loudoun County Circuit Court ruling in Barnett v. Loudoun stating that masks are
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     optional in Loudoun County Public Schools starting Thursday, February 17 th, 2022. See

     Exhibit B (Email from LCPS).

  7. As a result, on Wednesday, February 16, 2022, I emailed Trailside Middle School

     administration requesting that I.C. learn in a classroom where all of the other students are

     masked, or, if that isn’t possible, for I.C. to have special seating in the classroom that is

     distanced from anyone who is not wearing a mask. See Exhibit C (Requests for

     Modification and School Response). Trailside Middle School has offered to have I.C.

     learn at the teacher’s desk that is distanced from the other students and for teachers to

     rework their seating charts. See Exhibit C.

  8. I am assessing whether it is safe to send I.C. to school on a daily basis with these

     modifications in place.

  9. Loudoun County Public School’s change in mask policy in response to SB 739 and

     Barnett v. Loudoun has caused I.C. and our family to have anxiety about returning to in-

     person learning and staying healthy. I.C. in particular, has had anxiety attacks at school

     worrying about his proximity to other students. Our constant monitoring of transmission

     rates, masking, and social distancing has interrupted I.C.’s education and my ability to

     work.

  10. I have been forced to choose between I.C.’s education and his health.

  11. I am seeking to have Executive Order 2 and Senate Bill 739 blocked, so that my school

     will be able to require masking as necessary to meet its obligations to my child.




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       I swear under penalty of perjury under the laws of the United States that the foregoing is

true and correct to the best of my knowledge.

       Dated this 22nd day of February, 2022 at Ashburn, Virginia.




                                             Kimberly Crawley

                                             Date:




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